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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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 11 JANE DOE, an individual,                     Case No. 2:23-cv-9397 MEMF (AJRx)
 12              Plaintiff,                      ORDER GRANTING JOINT
                                                 STIPULATION OF DISMISSAL
 13        v.                                    WITH PREJUDICE PURSUANT TO
                                                 F.R.C.P.
 14 STARBUCKS CORPORATION, a                     RULE 41(a)(1)(A)(ii)
    corporation, and Does 1 through 50,
 15 inclusive,

 16                                              Complaint Filed: September 8, 2023
                 Defendants.                     Trial Date:       None
 17                                              District Judge: Hon. Maame Ewusi-
                                                                   Mensah Frimpong
 18                                                                Courtroom 8B, First St.
                                                 Magistrate Judge: Hon. A. Joel Richlin
 19                                                                Courtroom 780, Roybal
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                                              1             Case No. 2:23-cv-9397 MEMF (AJRx)
       ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO F.R.C.P.
                                      RULE 41(A)(1)(A)(II)
Case 2:23-cv-09397-MEMF-AJR          Document 13      Filed 05/27/25     Page 2 of 2 Page ID
                                          #:113


  1                                   ORDER OF DISMISSAL
  2          Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure,
  3   Rule 41(a)(1)(A)(ii), IT IS ORDERED THAT THIS ACTION BE, AND HEREBY
  4   IS, DISMISSED WITH PREJUDICE as to all claims, causes of action, and parties.
  5   Further, all parties are to bear their own attorneys’ fees and costs incurred in this
  6   instant action. The Clerk is directed to close the file.
  7          IT IS SO ORDERED.
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 10          May 27, 2025
      DATED: _________________               _______________________________________
                                             Honorable Maame Ewusi-Mensah Frimpong
 11                                          United States District Judge
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                                                 2                  Case No. 2:23-cv-9397 MEMF (AJRx)
        [PROPOSED] ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT
                                   TO F.R.C.P. RULE 41(A)(1)(A)(II)
